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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §   CASE NO. 6:16CR17
                                                  §
HALEY STILL (01)                                  §


     AMENDED FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
             BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On November 22, 2016 this cause came before the undersigned United States Magistrate Judge

for entry of a guilty plea by the defendant, Haley Still on a lesser included offense of Count Two

of the charging Indictment filed in this cause.

       The lesser included charge of Count Two of the Indictment charges that, on or about

October 7, 2015, in the Eastern District of Texas, Haley Still, defendant, did knowingly and

intentionally possess with intent to distribute more than 50 grams or more of a mixture or substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

violation of 21 U.S.C. Section 841(a)(1).
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       Defendant, Haley Still, entered a plea of guilty to Count Two of the Indictment into the

record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.    That Defendant, after consultation with counsel of record, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.    That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court and entered into the record.

       c.    That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant personally

in open court, the Court determines that Defendant’s plea is voluntary and did not result from

force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

       d.    That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that her conduct falls within the definition of the crimes charged under 21 U.S.C. §

841(a)(1).

                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis. In support, the Government and Defendant stipulated that if this case were to

proceed to trial the Government would prove beyond a reasonable doubt, through the sworn

testimony of witnesses, including expert witnesses, as well as through admissible exhibits, each

and every essential element of the crime charged in Count Two of the Indictment. The Government
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would also prove that the defendant is one and the same person charged in the Indictment and that

the events described in the Indictment occurred in the Eastern District of Texas and elsewhere.

The Court incorporates the proffer of evidence described in detail in the factual basis and

stipulation in support of the guilty plea.

       Defendant, Haley Still, agreed with and stipulated to the evidence presented in the factual

basis. Counsel for Defendant and the Government attested to Defendant’s competency and

capability to enter an informed plea of guilty. The Defendant agreed with the evidence presented

by the Government and personally testified that she was entering her guilty plea knowingly, freely

and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned determines

to be supported by an independent factual basis establishing each of the essential elements of the

offense charged in Count Two of the charging Indictment on file in this criminal proceeding.

The Court also recommends that the District Court accept the plea agreement and plea agreement

addendum pursuant to the Local Rules for the United States District Court for the Eastern District

of Texas and Federal Rule of Criminal Procedure 11(c). Accordingly, it is further recommended

that, Defendant, Haley Still, be finally adjudged as guilty of the charged offense under Title 21,

United States Code, Section 841(a)(1). Defendant is ordered to report to the United States

Probation Department for the preparation of a presentence report. At the plea hearing, the Court

admonished the Defendant that the District Court may reject the plea and that the District Court

can decline to sentence Defendant in accordance with the plea agreement and addendum, the

federal sentencing guidelines and/or the presentence report because the sentencing guidelines are

advisory in nature. The District Court may defer its decision to accept or reject the plea agreement

and addendum until there has been an opportunity to consider the presentence report. See FED. R.
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CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in open

court that it is not bound by the plea agreement and Defendant may have the opportunity to

withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P.

11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea, the

disposition of the case may be less favorable to Defendant than that contemplated by the plea

agreement or addendum. Defendant has the right to allocute before the District Court before

imposition of sentence.

                                          OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure

to object bars that party from: (1) entitlement to de novo review by a district judge of proposed

findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

(2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d

1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the

courts require that, when a party takes advantage of his right to object to a magistrate’s findings

or recommendation, a district judge must exercise its nondelegable authority by considering the

actual evidence and not merely by reviewing and blindly adopting the magistrate’s report and

recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).




      So ORDERED and SIGNED this 8th day of December, 2016.
